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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                   03/13/2025
                                                                       :
BLAKE LIVELY,                                                          :
                                                                       :
                                    Plaintiff,                         :      24-cv-10049 (lead case);
                                                                       :      25-cv-449 (member case)
                  -v-                                                  :
                                                                       :       PROTECTIVE ORDER
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, STEVE SAROWITZ, IT ENDS WITH :
US MOVIE LLC, MELISSA NATHAN, THE AGENCY :
GROUP PR LLC, JENNIFER ABEL, JED WALLACE, :
STREET RELATIONS INC.,                                                 :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
                                                                       :
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, IT ENDS WITH US MOVIE LLC,                                :
MELISSA NATHAN, and JENNIFER ABEL,                                     :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                        -v-                                            :
                                                                       :
BLAKE LIVELY, RYAN REYNOLDS, LESLIE                                    :
SLOANE, VISION PR, INC., THE NEW YORK TIMES :
COMPANY,                                                               :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- :
                                                                       X

LEWIS J. LIMAN, United States District Judge:

        WHEREAS all of the parties to this action (collectively, the “Parties,” and individually, a
“Party”) request that this Court issue a protective order pursuant to Federal Rule of Civil
Procedure 26(c) to protect the confidentiality of certain nonpublic and confidential material that
will be exchanged pursuant to and during the course of discovery in this case;

        WHEREAS, the Parties acknowledge that this Protective Order does not confer blanket
protections on all disclosures or responses to discovery and that the protection it affords only
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extends to the limited information or items that are entitled, under the applicable legal principles,
to confidential treatment;

        WHEREAS, the Parties further acknowledge that this Protective Order does not create
entitlement to file confidential information under seal; and

        WHEREAS, in light of these acknowledgements, and based on the representations of the
Parties that discovery in this case will involve confidential documents or information the public
disclosure of which will cause harm to the producing person and/or third party to whom a duty of
confidentiality is owed, and to protect against injury caused by dissemination of confidential
documents and information, this Court finds good cause for issuance of an appropriately tailored
confidentiality order governing the pretrial phase of this action;

         IT IS HEREBY ORDERED that any person subject to this Protective Order—including
without limitation the parties to this action, their representatives, agents, experts and consultants,
all third parties providing discovery in this action, and all other interested persons with actual or
constructive notice of this Protective Order—shall adhere to the following terms:

        1.      Any person subject to this Protective Order who receives from any other person
subject to this Protective Order any “Discovery Material” (i.e., information of any kind produced
or disclosed pursuant to and in course of discovery in this action) that is designated as
“Confidential” or “Attorneys’ Eyes Only” pursuant to the terms of this Protective Order
(hereinafter, collectively, “Confidential Discovery Material”) shall not disclose such
Confidential Discovery Material to anyone else except as expressly permitted hereunder. The
designation “Attorneys’ Eyes Only” shall only be utilized for Confidential Discovery Material of
such a highly confidential and personal, sensitive, or proprietary nature that the revelation of
such is highly likely to cause a significant competitive, business, commercial, financial, or
privacy injury to the producing party. The following categories of information may be
designated “Attorneys’ Eyes Only”:

       a. Trade secrets; confidential business plans, marketing plans, and strategies for clients
          other than the parties in this litigation; confidential business projects or leads on
          projects for clients other than the parties in this litigation; confidential creative
          projects or ideas other than those involved in this litigation;

       b. Security measures taken by parties or third parties;

       c. Medical information of parties or third parties;

       d. Highly personal and intimate information about third parties, and highly personal and
          intimate information about parties other than information directly relevant to the truth
          or falsity of any allegation in the complaints in this case.




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       The protections conferred by this Order cover not only Confidential and Attorneys’ Eyes
Only Information but also any information copied or extracted therefrom, as well as all copies,
excerpts, summaries, or compilations thereof (hereinafter referred to collectively as “copies”).

        2.      The person producing any given Discovery Material may designate as
Confidential or “Attorneys’ Eyes Only” only such portion of such nonpublic material the public
disclosure of which is either restricted by law or will cause harm to the business, commercial,
financial or personal interests of the producing person and/or a third party to whom a duty of
confidentiality is owed and that consists of:

                (a) previously nondisclosed financial information (including without limitation
profitability reports or estimates, percentage fees, design fees, royalty rates, minimum guarantee
payments, sales reports, sale margins, confidential trading or investing information, and credit
and banking information);

              (b) previously nondisclosed material relating to ownership or control of any
public or non-public company;

               (c) previously nondisclosed business plans, product development information,
marketing plans, trade secrets, creative ideas, films, scripts, projects, productions, entertainment
activities and other creative or artistic matters, client relationships, or communications
regarding business affairs or contractual negotiations;

               (d) any information of a personal or intimate nature regarding any individual,
including but not limited to non-public photographs, videos, or audio recordings of family or
other personal relationships; non-public information regarding the identity and nature of
personal relationships; medical, mental health and/or health care records; Social Security
numbers; or non-public contact information (including but not limited to telephone numbers, e-
mail addresses, physical addresses or whereabouts, or code names for hotel use); or

               (e) extracts or summaries of any information identified in (a)-(d); and

               (f) any other category of information hereinafter given confidential status by the
Court.

        3.     With respect to the Confidential or Attorneys’ Eyes Only portion of any
Discovery Material other than deposition transcripts and exhibits, the producing person or that
person’s counsel may designate such portion as “Confidential” or Attorneys’ Eyes Only by: (a)
stamping or otherwise clearly marking as “Confidential” or Attorneys’ Eyes Only the protected
portion in a manner that will not interfere with legibility or audibility; and (b) producing for
future public use another copy of said Discovery Material with the confidential information
redacted.

      4.      With respect to deposition transcripts, a producing person or that person’s counsel
may designate such portion as Confidential or Attorneys’ Eyes Only either by (a) indicating on


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the record during the deposition that a question calls for Confidential Discovery Information, in
which case the reporter will bind the transcript of the designated testimony (consisting of
question and answer) in a separate volume and mark it as “Confidential Information Governed
by Protective Order” or “Attorneys’ Eyes Only Information Governed by Protective Order”; or
(b) notifying the reporter and all counsel of record, in writing, within 30 days after a deposition
has concluded, of the specific pages and lines of the transcript and/or the specific exhibits that
are to be designated Confidential or Attorneys’ Eyes Only, in which case all counsel receiving
the transcript will be responsible for marking the copies of the designated transcript or exhibit (as
the case may be), in their possession or under their control as directed by the producing person or
that person’s counsel by the reporter. During the 30-day period following the conclusion of a
deposition, the entire deposition transcript will be treated as if it had been designated
Confidential or Attorneys’ Eyes Only.

       5.       If at any time prior to the trial of this action, a producing person realizes that some
portion(s) of Discovery Material that she, he, or it had previously produced without limitation
should be designated as Confidential or Attorneys’ Eyes Only, she, he, or it may so designate by
so apprising all prior recipients of the Discovery Material in writing, and thereafter such
designated portion(s) of the Discovery Material will thereafter be deemed to be and treated as
such under the terms of this Protective Order.

       6.      No person subject to this Protective Order other than the producing person shall
disclose any of the Discovery Material designated by the producing person as Confidential to any
other person whomsoever, except to:

               (a) the Parties to this action, their insurers, and counsel to their insurers;

               (b) counsel retained specifically for this action, including any paralegal, clerical
and other assistant employed by such counsel and assigned to this matter;

                (c) outside vendors or service providers (such as copy-service providers and
document-management consultants, graphic production services or other litigation support
services) that counsel hire and assign to this matter, including computer service personnel
performing duties in relation to a computerized litigation system, as reasonably necessary,
provided such vendors or service providers have first executed a Non-Disclosure Agreement in
the form annexed as an Exhibit hereto;

              (d) any mediator or arbitrator that the Parties engage in this matter or that this
Court appoints, provided such person has first executed a Non-Disclosure Agreement in the form
annexed as an Exhibit hereto;

                (e) as to any document, its author, its addressee, and any other person indicated
on the face of the document as having received a copy;




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                  (f) any witness who counsel for a Party in good faith believes may be called to
testify at trial or deposition in this action, provided such person has first executed a
Non-Disclosure Agreement in the form annexed as an Exhibit hereto 1;

                (g) any person retained by a Party to serve as an expert witness or otherwise
provide specialized advice to counsel in connection with this action, provided such person has
first executed a Non-Disclosure Agreement in the form annexed as an Exhibit hereto;

                  (h) stenographers engaged to transcribe depositions conducted in this action; and

               (i) this Court, including any appellate court, and the court reporters and support
personnel for the same.

        7.      With respect to Discovery Material designated as Attorneys' Eyes Only, such
material shall only be disclosed to those persons identified in paragraphs 6(b), (c), (d), (e), (g),
(h) and (i) but shall not be disclosed to the Parties.

         8.     Prior to any disclosure of any Confidential Discovery Material to any person
referred to in subparagraphs 6(d), 6(f) or 6(g) above, such person shall be provided by counsel
with a copy of this Protective Order and shall sign a Non-Disclosure Agreement in the form
annexed as an Exhibit hereto stating that that person has read this Protective Order and agrees to
be bound by its terms. Said counsel shall retain each signed Non-Disclosure Agreement, hold it
in escrow, and produce it to opposing counsel either prior to such person being permitted to
testify (at deposition or trial) or at the conclusion of the case, whichever comes first.

         9.       Any Party who objects to any designation of confidentiality may at any time prior
to the trial of this action serve upon counsel for the designating person a written notice stating
with particularity the grounds of the objection. If the Parties cannot reach agreement promptly,
counsel for all Parties will address their dispute to this Court in accordance with Paragraph 1(C)
of this Court’s Individual Practices in Civil Cases.

        10.     A Party may be requested to produce Discovery Material that is subject to
contractual or other obligations of confidentiality owed to a third party. Within two business
days of receiving the request, the receiving Party subject to such obligation shall inform the third
party of the request and that the third party may seek a protective order or other relief from this
Court. If neither the third party nor the receiving Party seeks a protective order or other relief
from this Court within 21 days of that notice, the receiving Party shall produce the information
responsive to the discovery request but may affix the appropriate controlling designation.



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 1 In the event the fact witness refuses to sign a copy of the Exhibit, he or she may be shown Confidential
Discovery Information only after, on the record stating such refusal, and then being advised on the record of the
following: “By order of the Court in this Action, you may not disclose in any manner any Confidential Discovery
Information to any person or entity except in strict compliance with the provisions of this Order, and if you do so,
you may be subject to a sanction by the Court.”


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       11.     Recipients of Confidential Discovery Material under this Protective Order may
use such material solely for the prosecution and defense of this action and any appeals thereto,
and specifically (and by way of example and not limitations) may not use Confidential Discovery
Material for any business, commercial, or competitive purpose, including disclosure to the
media. Nothing contained in this Protective Order, however, will affect or restrict the rights of
any person with respect to its own documents or information produced in this action. Nor does
anything contained in this Protective Order limit or restrict the rights of any person to use or
disclose information or material obtained independently from and not through or pursuant to the
Federal Rules of Civil Procedure, in keeping with the order by this Court with respect to Rule 3.6
of New York’s Rules of Professional Conduct, see Dkt. No. 57, 24-cv-10049.

        12.     Nothing in this Protective Order will prevent any person subject to it from
producing any Confidential Discovery Material in its possession in response to a lawful
subpoena or other compulsory process, or if required to produce by law or by any government
agency having jurisdiction, provided, however, that such person receiving a request, will provide
written notice to the producing person before disclosure and as soon as reasonably possible, and,
if permitted by the time allowed under the request, at least 10 days before any disclosure. Upon
receiving such notice, the producing person will have the right to oppose compliance with the
subpoena, other compulsory process, or other legal notice if the producing person deems it
appropriate to do so.

        13.     All persons seeking to file redacted documents or documents under seal with the
Court shall follow Rule 2(H) of this Court’s Individual Practices in Civil Cases. No person may
file with the Court redacted documents or documents under seal without first seeking leave to
file such papers. All persons producing Confidential Discovery Material are deemed to be on
notice that the Second Circuit puts limitations on the documents or information that may be filed
in redacted form or under seal and that the Court retains discretion not to afford confidential
treatment to any Confidential Discovery Material submitted to the Court or presented in
connection with any motion, application or proceeding that may result in an order and/or
decision by the Court unless it is able to make the specific findings required by law in order to
retain the confidential nature of such material. Notwithstanding its designation, there is no
presumption that Confidential Discovery Material will be filed with the Court under seal. The
Parties will use their best efforts to minimize such sealing.

       14.     All persons are hereby placed on notice that the Court is unlikely to seal or
otherwise afford confidential treatment to any Discovery Material introduced in evidence at trial
or supporting or refuting any motion for summary judgment, even if such material has previously
been sealed or designated as Confidential.

        15.      Any Party filing a motion or any other papers with the Court under seal shall also
publicly file a redacted copy of the same, via the Court’s Electronic Case Filing system, that
redacts only the Confidential Discovery Material itself, and not text that in no material way
reveals the Confidential Discovery Material.



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       16.     Each person who has access to Discovery Material that has been designated as
Confidential or Attorney’s Eyes Only shall take all due precautions to prevent the unauthorized
or inadvertent disclosure of such material.

         17.     Any Personally Identifying Information (“PII”) (e.g., social security numbers, ,
party phone numbers, personal addresses other than those already made public for personal
service, financial account numbers, passwords, and information that may be used for identity
theft) exchanged in discovery shall be maintained by the persons who receive such information
and are bound by this Protective Order in a manner that is secure and confidential, including as
addressed in Paragraph 2(e). In the event that the person receiving PII experiences a data breach,
she, he, or it shall immediately notify the producing person of the same and cooperate with the
producing person to address and remedy the breach. Nothing herein shall preclude the producing
person from asserting legal claims or constitute a waiver of legal rights or defenses in the event
of litigation arising out of the receiving person’s failure to appropriately protect PII from
unauthorized disclosure.

       18.      This Protective Order shall survive the termination of the litigation. Within 30
days of the final disposition of this action, all Discovery Material designated as “Confidential,”
or “Attorneys’ Eyes Only” and all copies thereof, shall be promptly returned to the producing
person, or, upon permission of the producing person, destroyed.

        19.      All persons subject to this Protective Order acknowledge that willful violation of
this Protective Order could subject them to punishment for contempt of Court. This Court shall
retain jurisdiction over all persons subject to this Protective Order to the extent necessary to
enforce any obligations arising hereunder or to impose sanctions for any contempt thereof.

       SO ORDERED.
Dated: March 13, 2025                                __________________________________
       New York, New York                                       LEWIS J. LIMAN
                                                            United States District Judge




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
BLAKE LIVELY,                                                          :
                                                                       :
                                    Plaintiff,                         :       24-cv-10049 (lead case);
                                                                       :              25-cv-449
                  -v-                                                  :
                                                                       :       PROTECTIVE ORDER
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, STEVE SAROWITZ, IT ENDS WITH :
US MOVIE LLC, MELISSA NATHAN, THE AGENCY :
GROUP PR LLC, JENNIFER ABEL, JED WALLACE, :
STREET RELATIONS INC.,                                                 :
                                                                       :
                                    Defendants.                        :
                                                                       X
---------------------------------------------------------------------- :
                                                                       :
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, IT ENDS WITH US MOVIE LLC,                                :
MELISSA NATHAN, and JENNIFER ABEL,                                     :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                        -v-                                            :
                                                                       :
BLAKE LIVELY, RYAN REYNOLDS, LESLIE                                    :
SLOANE, VISION PR, INC., THE NEW YORK TIMES :
COMPANY,                                                               :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        I, _____________________________, acknowledge that I have read and understand the
Protective Order in this action governing the non-disclosure of those portions of Discovery
Material that have been designated as Confidential Discovery Material. I agree that I will not
disclose such Confidential Discovery Material to anyone other than for purposes of this litigation
and that at the conclusion of the litigation I will either return all discovery information to the
party or attorney from whom I received it, or upon permission of the producing party, destroy
such discovery information. By acknowledging these obligations under the Protective Order, I
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understand that I am submitting myself to the jurisdiction of the United States District Court for
the Southern District of New York for the purpose of any issue or dispute arising hereunder and
that my willful violation of any term of the Protective Order could subject me to punishment for
contempt of Court.




Dated: ______________                                _____________________________________




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